963 F.2d 385
    U.S.v.Montero**
    NO. 91-5052
    United States Court of Appeals,Eleventh Circuit.
    May 05, 1992
    
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      Appeal From:  S.D.Fla.
    
    
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      AFFIRMED.
    
    
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      Federal Reporter. The Eleventh Circuit provides by rule that
    
    
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      unpublished opinions are not considered binding precedent.
    
    
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      They may be cited as persuasive authority, provided that a
    
    
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      copy of the unpublished opinion is attached to or
    
    
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      incorporated within the brief, petition or motion.  Eleventh
    
    Circuit Rules, Rule 36-2, 28 U.S.C.A.)
    
      
        **
         Local Rule 36 case
      
    
    